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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________________

UNITED STATES OF AMERICA,

                                     Plaintiff,                               ORDER
       v.
                                                                           01-cr-09-bbc-03
PAUL A. WINFIELD,

                                 Defendant.
_____________________________________________________________________________________

       At 10:10 this morning, January 28, 2010, defendant Paul A. Winfield filed an emergency

motion under the All Writs Act for an interruption of his prison sentence from January 28 to

February 1, 2010, to attend his father’s funeral in Chicago. With deepest sympathy for Mr.

Winfield and his family, this court must deny his motion. This is because the motion arrived

too late, Mr. Winfield is located at FCI-Bastrop in Texas, which calls into question this court’s

jurisdiction even to enter the requested order, and there are no district judges present at this

time to review the motion.


       Entered this 28th day of January, 2010

                                             BY THE COURT:

                                             /s/

                                             STEPHEN L. CROCKER
                                             Magistrate Judge
